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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

              -against-                                              ORDER

 JUAN PERALTA,                                                   19 Cr. 818 (PGG)

                           Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

               Defendant Peralta is currently detained at the Metropolitan Correctional Center.

He has moved for release on bail. (Dkt. No. 46) The Government opposes the Defendant’s

application and consents to having Defendant's bail application decided on the papers. (Dkt. No.

48) No trial date has been set, and the parties are currently reviewing discovery and

contemplating pretrial motions.

               By May 18, 2020, at 9:00 a.m., Defendant will make a submission stating

whether he consents to having his bail application decided on the papers, and waives his right to

a hearing.

Dated: New York, New York
       May 16, 2020
